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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                  Case No.: 11-20678-CR-MOORE

  UNITED STATES OF AMERICA,

                 Plaintiff,

  vs.

  MONTAVIS MIDDLETION,

              Defendant.
  _______________________/

                SENTENCING MEMORANDUM ON STATUTORY FACTORS

         In the instant case, it is submitted on behalf of Mr. Middleton that the court consider the

  various § 3553(a) factors as applied to this case and reduce the defendant’s guideline range

  through variance or a downward departure to 32 years, prior to any consideration of a substantial

  assistance reduction. It is submitted that a variance under these factors is reasonable, especially

  due to the circumstances of this case and the history and characteristics of this defendant.

                        THE DEFENANT’S COOPERATION AND PLEA

         In the instant case, the defendant gave transcribed confessions to each of 7 conspiratorial

  robberies and agreed to cooperate with authorities, prior even to retention of counsel. Without

  hesitation, he entered into a plea agreement with the government to cooperate in the resolution of

  the crimes and to plead guilty to a Hobbs Act conspiracy (Count 1), seven robberies (Counts 2,

  4, 6, 8,10,12, & 14), and two charges of a possession of a firearm in furtherance of a crime of

  violence (Counts 3 & 15). Thus, he agreed to consecutive minimum sentences of 7 years and 25

  years to follow the application of a guideline sentence, subject to a possible downward departure

  for his substantial assistance reduction from the initial guideline sentence plus the mandatory
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  consecutives. PSR, at 1-4. While it is believed that Mr. Middleton has provided and is

  continuing to provide substantial assistance, any reduction for that is expected to come through a

  rule 35 motion.

       THE ADVISORY GUIDELINES BEFORE THE CONSECUTIVE MINIMUMS

         The defendant’s advisory guideline calculation with acceptance of responsibility and the

  elimination of the two point enhancement for bodily injury in paragraph 97 would leave the

  defendant at a level 27 and a criminal history category of IV (100-125 months); but with a career

  criminal classification the defendant’s advisory guideline before the consecutive minimums is

  130-162 months. The defendant is being considered as career criminal due to the burglary of an

  unoccupied dwelling in paragraph 125.

         The defendant objected to the use of the conviction in paragraph 125 for purposes of a

  career criminal determination insofar as the burglary was of an unoccupied dwelling and it is

  submitted that it should not be considered a crime of violence See United States v. Spell, 44

  F.3d 936 (11th Cir. 1995); contra, United States v. Gonzalez-Lopez, 911 F. 2d 542 (11th Cir.

  1990). The Addendum to the PSR cites to the unpublished opinion of United States v. Dunklin,

  2009 U.S. App. Lexios 8387 (11th Cir. 2009) where the court acknowledged that it had “never

  explicitly concluded that burglary of an unoccupied dwelling is a crime of violence….”

  However, this distinction can be made for purposes of a downward departure or variance from

  the career offender provisions (horizontally or vertically) based upon the application of the

  factors under section 3553 (a) (1) through (7), plus his extraordinary acceptance of

  responsibility, substantial assistance, and for these mitigating circumstances of a kind or degree

  not adequately taken into consideration in the guidelines.

          A SENTENCE SUFFICIENT, BUT NOT GREATER THAN NECESSARY
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         Section 3553 (a) states that “[t]he Court shall impose a sentence sufficient, but not

  greater than necessary, to comply with the purposes set forth in paragraph (2) of this subsection.

  The Court, in determining the particular sentence to be imposed, shall consider” the factors in

  subsections (a) (1) – (7). The Supreme Court has ruled that the Court must give due deference to

  a District Court’s decision that the Section 3553(a) factors, on a whole, justify the extent of a

  variance. Gall v. United States, 128 S.Ct. 586 (2007). See United States v. Clay, 483 F.3d.

  739 (11th Cir., 2007); United States v. Gray, 453 F.3d 1323 (11th Cir. 2006); United States v.

  Halsema, 180 Fed. Appx. 103 (11th Cir. 2006) (The defendant was sentenced to 24 months, less

  than half of the 57-month prescribed guideline sentence. The Eleventh Circuit held that the trial

  court’s explicit reliance on the § 3553(a) factors supported the reasonableness of the decision.).

  United States v. Montgomery, 165 Fed. Appx. 840 (11th Cir. 2006). The decision in United

  States v. Williams (Marcus), 435 F.3d 1350 (11th Cir. 2006), shows that deviations will be

  approved if supported by a statement of reasons, even in career criminal cases. (guideline

  sentence of career criminal was properly calculated at 188 —235 months. Considering the

  various § 3553(a) factors, the district court sentenced the defendant to 90 months imprisonment.

         It is submitted that the circumstances of this case, whereby Mr. Middleton has two

  consecutive minimums totaling 32 years, consecutive to a guideline range, the application of the

  statutory factors here justify the imposition of a sentence of no more than 32 years. 32 years is a

  sufficient sentence and any greater sentence is not necessary in this case. It is submitted that

  under the circumstances of Mr. Middleton’s case, his history and characteristics, and his

  cooperation, a 32 year sentence is a sufficient and just sentence from which the court should

  consider a substantial assistance reduction, and the full application of the advisory guideline

  range of 42 years is greater than necessary.
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         WHEREFORE, Mr. Middleton requests that the court enter the aforementioned sentence

  of 32 years as the reasonable sentence considering the statutory factors, sustain his objections to

  the PSI, and for such other relief as is appropriate.

                                                          Respectfully submitted,
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                                        Certificate of Service


         I hereby certify that on March 14, 2012 I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel of record or pro se parties identified on the attached Service List in

  the manner specified, either via transmission of Notices of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

  to receive electronically Notices of Electronic Filing.


                                                        By:     /s/Nathan D. Clark
                                                                 Nathan D. Clark
